           Case: 1:19-cv-04547 Document #: 69 Filed: 02/11/20 Page 1 of 2 PageID #:524

                                                United States District Court
                                                Northern District of Illinois

In the Matter of

 City of Chicago                                               Magistrate Judge Sunil R. Harjani
                           v.                                              Case No. 19-CV-4547

 Jussie Smollett



               TRANSFER OF CASE TO THE EXECUTIVE COMMITTEE FOR A
                         REFERRAL TO MAGISTRATE JUDGE

   The above captioned case is currently pending on my calendar. I recommend to the Executive
Committee that this case be referred to the calendar of Magistrate Judge Sunil R. Harjani, the
magistrate judge designated pursuant to Local Rule 72.1. The reasons for my recommendation
are indicated on the reverse of this form.



                                                           ________________________________
                                                                 Judge Virginia M. Kendall

Date: Tuesday, February 11, 2020



                                ORDER OF THE EXECUTIVE COMMITTEE

  IT IS HEREBY ORDERED that the above captioned case be referred to the calendar of
Magistrate Judge Sunil R. Harjani


                                                      ENTER

                                      FOR THE EXECUTIVE COMMITTEE




                                                           _____________________________________
                                                            Chief Judge Rebecca R. Pallmeyer
Dated:Tuesday, February 11, 2020

District Referral - To Designated Magistrate Judge
           Case: 1:19-cv-04547 Document #: 69 Filed: 02/11/20 Page 2 of 2 PageID #:524


CIVIL PROCEDURES

Conduct hearings and enter appropriate orders on the following pretrial motion/matter:


- Discovery Supervision




EXCEPTIONS OR ADDITIONS:
To include Counter Defendant's Motion to Quash (Dkt. 57) and Motion for Protective Order (Dkt. 61).




District Referral - To Designated Magistrate Judge
